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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA

Case No. 19-cr-00621-EMC-1
Case Name: USA v. Abouammo

                              TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                             PLAINTIFF ATTORNEYS:               DEFENSE ATTORNEYS:
                                   Colin Sampson, Eric Cheng,
Edward M. Chen                     Christine Bonomo
                                                                      Angela Chuang, Jerome Matthews
TRIAL DATE:                        REPORTER:                          CLERK:
August 4, 2022                     Joan Columbini                     Vicky Ayala

PLF    DEF       TIME
NO.    NO        OFFERED          ID   ADM       DESCRIPTION
                 8:25 a.m.                       Court in session. Discussion outside the presence of the
                                                 jury. Court informed the parties that Juror No. 6 is
                                                 having mechanical issues, he must have his vehicle
                                                 towed. Parties agreed to wait for Juror No. 6 to arrive
                                                 to Court.
                 8:35 a.m.                       Court in recess.
                 9:15 a.m.                       Court reconvened. Discussion outside the presence of
                                                 the jury. Court updated the parties regarding Juror No.
                                                 6. Court informed the parties Juror No. 6 is still waiting
                                                 for a tow truck; it may take another hour or longer for
                                                 him to arrive. Court excused Juror No. 6. Alternate No.
                                                 2 will replace Juror No. 6. Defense agreed; gov’t
                                                 deferred to court.
                 9:35 a.m.                       Jury present.
                 9:36 a.m.                       Closing Argument by Eric Cheng on behalf of the
                                                 Government.
                 10:25 a.m.                      Closing Argument by Eric Cheng on behalf of the
                                                 Government concludes.
                 10:26 a.m.                      Jury excused for break.
                 10:28 a.m.                      Court in recess.
                 10:46 a.m.                      Court reconvened.
                 10:50 a.m.                      Jury present.
                 10:50 a.m.                      Closing Argument by Angela Chuang on behalf of
                                                 Ahmad Abouammo.
                 12:09 p.m.                      Closing Argument by Angela Chuang on behalf of
                                                 Ahmad Abouammo concludes.
                 12:10 p.m.                      Jury admonished and excused for break.

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   12:45 p.m.                  Court reconvened.
   12:50 p.m.                  Jury present.
   12:51 p.m.                  Closing Rebuttal Argument by Colin Sampson on
                               behalf of the Government.
   1:33 p.m.                   Closing Rebuttal Argument by Colin Sampson on
                               behalf of the Government concludes.
   1:34 p.m.                   Court further instructs Jury.
   1:45 p.m.                   Court announced the final 12 Jurors deliberating. Court
                               admonished jurors and excused them for deliberations.
   1:50 p.m.                   Jurors will begin deliberations tomorrow. Court
                               adjourned.




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